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 1                            IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF ARIZONA
 2

 3   United States of America,                              NO. CR-18-00422-PHX-SPL (BSB)
 4
                         Plaintiff,                                 ORDER RE:
 5   vs.                                                 DEFENDANT’S UNOPPOSED MOTION
                                                         FOR EXTENSION OF TIME TO SUBMIT
 6
     Michael Lacey, et al.,                               REPLY ON DEFENDANT’S MOTION
 7                                                           FOR DISCLOSURE (DOC. 202)
                       Defendants.
 8
 9

10          The Court having reviewed and considered Defendant Lacey’s Motion for Extension of

11   Time to Submit Reply on Defendant’s Motion for Disclosure, with no objection by the
12
     Government, and good cause showing,
13

14

15          IT IS HEREBY ORDERED extending the otherwise applicable time for filing the Reply

16   on Defendant’s Motion for Disclosure (Doc. 202) for a period of three weeks and the response will
17
     be due on or before August 9, 2018.
18

19

20          The Court finds excludable delay under 18 U.S.C. § 3161(h) from ______________ to

21   __________.
22

23          Dated: _________________
24

25                                                        __________________________
26                                                        Honorable Steve Logan
                                                          United States District Court Judge
27

28                                                   3
